                                                                   https://outlook.office365.com/mail/webequip@lamd.uscourts.gov/deepli...
                     Case 3:20-cv-00213-SDD-RLB               Document 13         04/21/20 Page 1 of 1


         Transferred case has been opened
         ohndecf@ohnd.uscourts.gov <ohndecf@ohnd.uscourts.gov>
         Tue 4/21/2020 9:21 AM
         To: LAMDml_InterdistrictTransfer <InterdistrictTransfer_LAMD@lamd.uscourts.gov>




         CASE: 3:20-cv-00213

         DETAILS: Case transferred from Louisiana Middle
         has been opened in Northern District of Ohio
         as case 1:20-op-45157, filed 04/21/2020.




1 of 1                                                                                                                4/21/2020, 9:58 AM
